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                                                      No. 24-2229



                                 IN THE UNITED STATES COURT OF APPEALS
                                         FOR THE NINTH CIRCUIT

                                        DISABILITY RIGHTS OREGON et al.,
                                                Plaintiffs-Appellees,

                                                           v.

                                                DAVID BADEN et al.,
                                                Defendants-Appellees,

                                                           v.

                                                MARION COUNTY
                                            Proposed Intervenor-Appellant.

                            On Appeal from the U.S. District Court for the District of Oregon
                                             Case No. 3:02-cv-00339-AN
                                             Honorable Adrienne Nelson



                        MARION COUNTY’S MOTION TO EXCEED TYPE-VOLUME LIMIT



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                        Pursuant to Circuit Rule 32-2(a), Marion County respectfully moves this

              Court for permission to exceed the type-volume limitations set forth at Circuit

              Rule 32-1(a) by 7,081 words in Marion County’s opening brief and provides the

              attached Declaration of Joseph D. Maughon in Support of Marion County’s

              Motion to Exceed Type-Volume Limit (“Declaration” or “Decl.”), setting forth in

              detail the reasons for this request, which are summarized below. In accordance

              with Circuit Rule 32-2(a), Marion County files herewith a copy of the brief that

              Marion County proposes to file, which includes a Circuit Rule 32-1 Form 8

              certification as to the word count. Counsel for Marion County inquired with

              counsel for Appellees concerning their position on this motion, who advised that

              they do not object to the motion. Decl. ¶ 13.

                        There are multiple reasons for this request, establishing an extraordinary

              and compelling need for excess words despite the diligence of counsel for Marion

              County in reducing the word count as much as reasonably practicable. As set forth

              in further detail in the accompanying Declaration, these reasons include, but are

              not limited to, the following. First and foremost, this case consists of two appeals,

              which the Court consolidated sua sponte, Decl. ¶¶ 4, 6, thus reducing what would

              be the total word count between two briefs (28,000 words) to the 14,000 words

              allowed for one brief. Decl. ¶ 5; Cir. R. 32-1(a). Second, a total of five district


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              court orders, each with substantial procedural and briefing history, are at issue in

              the consolidated appeals. Decl. ¶ 7. Third, because these consolidated appeals

              focus largely on an order issued by the district court under the Supremacy Clause

              of the United States Constitution, directed at a state court’s actions, those state

              court proceedings are also relevant and require significant discussion in Marion

              County’s brief. Decl. ¶ 8. Fourth, the district court orders challenged in this appeal

              were not summary orders; instead, most were based on several grounds requiring

              additional discussion in Marion County’s opening brief. Decl. ¶ 9. Fifth, the

              proceedings below have a remarkably lengthy history involving a multitude of

              multifaceted issues, such as lengthy expert reports, complex state law, and the

              interplay between various local and state agencies. Decl. ¶ 10. A substantial

              portion of Marion County’s brief is taken up laying out this background. Id. Sixth,

              this is not a simple one- or two-issue appeal; instead, six issues have been raised in

              this consolidated appeal, each requiring significant discussion. Decl. ¶ 11.

                        As a result of these numerous complexities, Marion County cannot

              adequately address all issues in this consolidated appeal while limiting argument

              to the type-volume limitation set forth in Circuit Rule 32-1(a). While Marion

              County’s counsel has diligently made every effort to keep Marion County’s

              opening brief under the 14,000-word limitation, conducting several rounds of


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              editing for length, the brief currently exceeds the type-volume limitations by 7,081

              words, for a total of 21,081 words. Decl. ¶ 12. While Marion County thus does not

              seek to file a double-length brief, it does, for the foregoing reasons, have an

              extraordinary and compelling need to exceed the word count established in Circuit

              Rule 32-1(a) by 7,081 words, despite its diligence. Marion County therefore

              respectfully moves that this Court grant its motion for permission to exceed the

              word count limitation and file its brief with 21,081 words.

              Dated: August 28, 2024                   Respectfully submitted,

                                                       /s/ James Bopp, Jr.
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              typeface using WordPerfect 2020 in Times New Roman 14-point font.

              Dated: August 28, 2024                     /s/ James Bopp, Jr.
                                                         James Bopp, Jr.
                                                         Counsel for Marion County




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